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                                                                                                           AP
                            UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT                                  Jun 29, 2020
                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303                                               MIAMI

  David J. Smith                                                                      For rules and forms visit
  Clerk of Court                                                                      www.ca11.uscourts.gov


                                            June 29, 2020

   Clerk - Southern District of Florida
   U.S. District Court
   400 N MIAMI AVE
   MIAMI, FL 33128-1810

   Appeal Number: 14-15733-CC
   Case Style: Gregory Welch v. USA
   District Court Docket No: 0:13-cv-62770-KAM
   Secondary Case Number: 0:09-cr-60212-KAM-1

   A copy of this letter, and the judgment form if noted above, but not a copy of the court's
   decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
   was previously forwarded to counsel and pro se parties on the date it was issued.

   The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
   was previously provided on the date of issuance.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Lois Tunstall
   Phone #: (404) 335-6191

   Enclosure(s)
                                                                       MDT-1 Letter Issuing Mandate
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                             UNITED STATES COURT OF APPEALS
                                   For the Eleventh Circuit
                                       ______________

                                            No. 14-15733
                                           ______________

                                      District Court Docket Nos.
                             0:13-cv-62770-KAM; 0:09-cr-60212-KAM-1

   GREGORY WELCH,

                                                      Petitioner - Appellant,

   versus

   UNITED STATES OF AMERICA,

                                               Respondent - Appellee.
                         __________________________________________

                         Appeal from the United States District Court for the
                                    Southern District of Florida
                         __________________________________________

                                             JUDGMENT

   It is hereby ordered, adjudged, and decreed that the opinion issued on this date in this appeal is
   entered as the judgment of this Court.

                                        Entered: May 06, 2020
                           For the Court: DAVID J. SMITH, Clerk of Court
                                           By: Jeff R. Patch




  ISSUED AS MANDATE 06/29/2020
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                                                                           [PUBLISH]



                    IN THE UNITED STATES COURT OF APPEALS

                             FOR THE ELEVENTH CIRCUIT
                               ________________________

                                      No. 14-15733
                                ________________________

               D.C. Docket Nos. 0:13-cv-62770-KAM; 0:09-cr-60212-KAM-1



  GREGORY WELCH,

                                                          Petitioner - Appellant,

  versus

  UNITED STATES OF AMERICA,

                                                          Respondent - Appellee.

                                ________________________

                       Appeal from the United States District Court
                           for the Southern District of Florida
                             ________________________

                                         (May 6, 2020)

  Before ROSENBAUM and TJOFLAT, Circuit Judges, and PAULEY,* District
  Judge.

  PER CURIAM:

           *
          Honorable William H. Pauley III, United States District Judge for the Southern District
  of New York, sitting by designation.
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        This case is before us following petitioner Gregory Welch’s successful appeal

  to the Supreme Court. Welch previously pled guilty to being a felon in possession

  of a firearm, in violation of 18 U.S.C. § 922(g)(1). The district court sentenced him

  pursuant to the Armed Career Criminal Act, 18 U.S.C. § 924(e)(1) (“ACCA”), after

  determining that Welch had previously committed three “violent felonies.”

  Subsequently, Welch filed a 28 U.S.C. § 2255 motion to vacate his sentence. That

  motion was denied, and this Court declined to issue a certificate of appealability

  (“COA”). The Supreme Court vacated that order and held that its decision in Samuel

  Johnson v. United States, 135 S. Ct. 2551 (2015), in which the Court invalidated the

  ACCA’s “residual clause,” applied retroactively to cases on collateral review. See

  Welch v. United States, 136 S. Ct. 1257, 1265 (2016).

        Welch argues now that the predicate offenses for his ACCA conviction were

  not violent felonies under the ACCA’s “elements” clause, the remaining provision

  of the ACCA that could still be applicable to his case. But as we explain below, our

  precedent requires us to conclude otherwise. We therefore affirm the district court’s

  denial of Welch’s § 2255 motion.

                                    I.    Background

     A. Conviction and Direct Appeal




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        In 2009, a federal grand jury indicted Welch on one count of being a felon in

  possession of a firearm, in violation of 18 U.S.C. § 922(g)(1). Welch pled guilty to

  the indictment on September 17, 2010.         His presentence investigation report

  identified him as an armed career criminal under 18 U.S.C. § 924(e)—who was thus

  subject to a mandatory minimum sentence of 15 years—based on these three prior

  Florida convictions: (i) two separate 1996 Florida strong-arm-robbery convictions,

  under Fla. Stat. § 812.13(1); and (ii) a 2005 felony-battery conviction, under Fla.

  Stat. § 784.041(1).

        Welch objected to his classification as an armed career criminal and argued at

  his sentencing in 2010 that neither his Florida robbery convictions nor his Florida

  felony-battery conviction were “violent felonies,” as defined by 18 U.S.C.

  § 924(e)(2)(B). The district court overruled Welch’s objection and determined that

  the convictions were violent felonies pursuant to both § 924(e)(2)(B)(i)’s “elements”

  clause and § 924(e)(2)(B)(ii)’s “residual” clause. The district court then sentenced

  Welch to 15 years’ imprisonment, the mandatory-minimum sentence under the

  ACCA.

        Welch appealed, and in 2012 this Court affirmed his conviction and sentence.

  United States v. Welch, 683 F.3d 1304 (11th Cir. 2012) (“Welch Direct Appeal”).

  On direct appeal, Welch argued, among other things, that his 1996 robbery

  convictions did not qualify as violent felonies under the ACCA. Id. at 1310. He


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  argued that the ACCA’s elements clause did not apply because the degree of force

  required to commit robbery was too slight to constitute a violent felony under the

  ACCA. In our discussion of that argument, we recognized that in 1996, when Welch

  pled guilty to robbery, the Florida district courts of appeal “were divided on whether

  a snatching . . . amounted to robbery,” and so we “assume[d] for purposes of analysis

  that Welch pleaded guilty to robbery at a time when mere snatching sufficed.” Id.

  at 1311–12. According to Welch, mere snatching was not the type of “violent force”

  that the Supreme Court has determined is punishable under the ACCA. See id. at

  1312–13 (discussing Curtis Johnson v. United States, 559 U.S. 133, 140 (2010)).

  We agreed that the elements clause “[a]rguably . . . would not apply to mere

  snatching,” but concluded that we “need not decide whether snatching is sufficiently

  violent under the elements clause . . . because it suffices under the [ACCA’s] residual

  clause.” Id. at 1313. Accordingly, we concluded that Florida robbery qualified as a

  violent felony under the residual clause and affirmed Welch’s sentence. See id. at

  1313–14.

     B. 28 U.S.C. § 2255 Proceedings

        In 2013, Welch filed a pro se 28 U.S.C. § 2255 motion to vacate, correct, or

  set aside his ACCA sentence. In relevant part, Welch argued that his Florida robbery

  and Florida felony-battery convictions were not properly used as predicates for his

  ACCA sentence. A magistrate judge recommended that Welch’s § 2255 motion be


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  denied, concluding in relevant part that Welch was properly sentenced under the

  ACCA. Over Welch’s objections, the district court adopted the magistrate judge’s

  recommendation, denied Welch’s § 2255 motion, and denied him a COA.

        Welch appealed, but in 2015 this Court denied his motion for a COA. Welch

  then petitioned the Supreme Court for a writ of certiorari, arguing that the Supreme

  Court’s then-recent decision in Samuel Johnson, in which the Supreme Court held

  that the ACCA’s residual clause was unconstitutionally vague, see Samuel Johnson,

  135 S. Ct. at 2557–58, applied retroactively to his case and invalidated his ACCA

  sentence. Welch, 136 S. Ct. at 1263. The Supreme Court granted Welch’s petition

  and held that Samuel Johnson’s void-for-vagueness holding regarding the ACCA’s

  residual clause applies retroactively to cases on collateral review. Id. at 1265. The

  Supreme Court accordingly vacated our order denying Welch a COA and remanded

  his case to this Court for further proceedings, but left open the possibility that we

  would affirm Welch’s sentence “on other grounds,” including the ACCA’s elements

  clause. Id. at 1268.

        On remand from the Supreme Court in 2016, a judge of this Court granted

  Welch a COA on the question of whether he was entitled to relief in light of Samuel

  Johnson. Subsequently, we stayed briefing in this case twice: first, pending the

  issuance of this Court’s en banc decision about Florida felony battery in United

  States v. Vail-Bailon, 868 F.3d 1293 (11th Cir. 2017) (en banc), cert. denied, 138 S.


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  Ct. 2620 (2018); and second, pending the issuance of the Supreme Court’s decision

  about Florida robbery in Stokeling v. United States, 139 S. Ct. 544 (2019). Those

  cases have been decided, and we now address the merits of Welch’s appeal.

                                 II.    Standard of Review

        We review de novo whether a prior conviction qualifies as a violent felony

  under the ACCA. United States v. Deshazior, 882 F.3d 1352, 1354 (11th Cir. 2018),

  cert. denied, 139 S. Ct. 1255 (2019).

                                       III.   Discussion

     A. The Armed Career Criminal Act

        A defendant is subject to the ACCA’s sentence enhancement if he or she was

  previously convicted of at least three “violent felon[ies]” or “serious drug

  offense[s].” See 18 U.S.C. § 924(e)(1). The latter group of predicate crimes,

  “serious drug offenses,” is not at issue in this case.

        The ACCA’s definition of “violent felony” includes three categories of

  offenses. The first part of the definition, which is known as the elements clause,

  refers to a crime that “has as an element the use, attempted use, or threatened use of

  physical force against the person of another.” Id. at § 924(e)(2)(B)(i). The second,

  known as the enumerated-offenses clause, refers to a crime that is “burglary, arson,

  or extortion, [or] involves use of explosives.” Id. at § 924(e)(2)(B)(ii). And the

  third, known as the residual clause, refers to a crime that “otherwise involves conduct


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  that presents a serious potential risk of physical injury to another.” Id. As we have

  noted, the Supreme Court has concluded that the residual clause is unconstitutionally

  vague.

        On appeal, Welch argues that none of his prior Florida convictions are

  “violent felonies” under the remaining clauses of the ACCA. Welch’s robbery and

  felony-battery convictions are, of course, not any of the enumerated offenses. So

  his prior convictions can sustain an ACCA sentence enhancement only if they fit

  within the elements clause. We discuss both convictions in turn.

     B. Florida Robbery

        Under Florida law, “robbery” is defined as follows:

        [T]he taking of money or other property which may be the subject of
        larceny from the person or custody of another, with intent to either
        permanently or temporarily deprive the person or the owner of the
        money or other property, when in the course of the taking there is the
        use of force, violence, assault, or putting in fear.

  Fla. Stat. § 812.13(1).

        There is no question that a conviction under § 812.13(1) is a violent felony

  under the ACCA’s elements clause. We reached this conclusion more than a decade

  ago. See United States v. Dowd, 451 F.3d 1244, 1255 (11th Cir. 2006), cert. denied,

  549 U.S. 941 (2006); see also United States v. Lockley, 632 F.3d 1238, 1245 (11th

  Cir. 2011) (holding Florida robbery is a crime of violence under the elements clause

  in the Sentencing Guidelines), cert. denied, 565 U.S. 885 (2011). The Supreme


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   Court reached the same conclusion last year. See Stokeling, 139 S. Ct. at 555. And

   in United States v. Fritts, we clarified that Dowd’s and Lockley’s holdings extended

   to pre-1997 convictions, when the Florida district courts were still divided about the

   level of force needed to commit robbery. See Fritts, 841 F.3d 937, 942–43 (11th

   Cir. 2016), cert. denied, 137 S. Ct. 2264 (2017).

         The question before us is whether, as Welch asserts, our decision in his direct

   appeal carved out a narrow exception for pre-1997 Florida robbery convictions

   obtained in Florida’s Fourth District Court of Appeal (“DCA”). Welch notes that in

   our discussion of the elements clause, we observed that, at the time Welch was

   convicted, the Fourth DCA had not resolved whether mere snatching of an item was

   sufficient to support a robbery conviction and that an earlier Florida Supreme Court

   decision had held that “‘any degree of force’ would convert larceny into a robbery.”

   Welch Direct Appeal, 683 F.3d at 1311 (discussing McCloud v. State, 335 So. 2d

   257, 258–59 (Fla. 1976)). We therefore “assume[d] for purposes of analysis that

   Welch pleaded guilty to robbery at a time when mere snatching sufficed.” Id. at

   1311–12. And so, Welch contends, we are required to use that assumption whenever

   we review robbery convictions that were obtained in the Fourth DCA.

         Welch’s argument fails. We did not create any such exception in Welch’s

   direct appeal. The discussion that Welch relies on was not necessary to our ultimate

   holding. We observed that if pre-1997 Florida robbery qualified as a violent felony


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   under either the elements clause or the residual clause, it qualified as a violent felony,

   nonetheless. And we ultimately concluded that “[w]e need not decide whether

   snatching is sufficiently violent under the elements clause . . . because it suffices

   under the residual clause.” Id. at 1313. Accordingly, our discussion of robbery

   under the elements clause in Welch’s direct appeal was dicta, and it is not binding.

   See United States v. Kaley, 579 F.3d 1246, 1253 n.10 (11th Cir. 2009) (“[D]icta is

   defined as those portions of an opinion that are not necessary to deciding the case

   then before us.” (citations and quotation marks omitted)); see also Edwards v. Prime,

   Inc., 602 F.3d 1276, 1298 (11th Cir. 2010) (“[D]icta is not binding on anyone for

   any purpose.” (citations omitted)).

         Welch retorts that the underlying assumption from the discussion of the

   elements clause in his direct appeal (that “mere snatching” would have been enough

   to sustain a robbery conviction at the time he pled guilty) is binding, and not dicta.

   He asserts that that assumption was integral to our holding in his direct appeal that

   a robbery conviction was a “violent felony” because we assumed that snatching

   would implicate the residual clause.

         But our decision in Fritts resolved that issue, and such an assumption is no

   longer permissible under our binding precedent. There, we held that the Florida

   Supreme Court, in its 1997 decision Robinson v. State, 692 So. 2d 883 (Fla. 1997),

   “made clear that the § 812.13 robbery statute has never included a theft or taking by


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   mere snatching,” and has always required force sufficient to overcome a victim’s

   resistance. Fritts, 841 F.3d at 942–43 (emphasis in original). We further stated that

   “[w]hen the Florida Supreme Court in Robinson interprets the robbery statute, it tells

   us what that statute always meant.” Id. at 943 (citation omitted). We thus concluded

   that Florida robbery has always required force sufficient to satisfy the ACCA’s

   elements clause. See id. We are bound by that decision. See United States v. Steele,

   147 F.3d 1316, 1317–18 (11th Cir. 1998) (en banc) (“Under our prior precedent rule,

   a panel cannot overrule a prior one’s holding even though convinced it is wrong.”

   (citations omitted)). Fritts thus forecloses Welch’s argument.

         Welch separately argues that we are bound by our decision in his direct appeal

   as the law of the case. Under the law-of-the-case doctrine, this Court is generally

   bound by a prior appellate decision of the same case and is precluded from

   “revisiting issues that were decided explicitly or by necessary implication in [the]

   prior appeal.” Thomas v. United States, 572 F.3d 1300, 1303 (11th Cir. 2009)

   (citation and quotation marks omitted). But the law-of-the-case doctrine does not

   prevent us from considering issues that could have been, but ultimately were not,

   resolved in the earlier appeal. See id. at 1304. And the doctrine does not bar

   reconsideration of an issue if there has been an intervening change in controlling

   precedent. See id. at 1303–04.




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          The law-of-the-case doctrine does not control our decision here. As we have

   explained, in our decision in Welch’s direct appeal, we did not decide, either

   explicitly or implicitly, whether pre-1997 Florida robberies in the Fourth DCA

   qualify as violent felonies under the ACCA’s elements clause.1

          Finally, Welch argues that we should find in his favor “to avoid expanding

   the inter-circuit conflict that already exists.” He is referring to a decision from the

   Ninth Circuit, United States v. Geozos, where that court concluded that a defendant

   could violate § 812.13 “without using violent force.” Geozos, 870 F.3d 890, 900

   (9th Cir. 2017). This argument fails. Circuit splits are an inevitable consequence of

   our system of appellate review, and we are not obligated—or permitted—to follow

   what we believe to be an incorrect decision from one of our sister circuits simply to

   avoid a “conflict.” Welch’s argument to the contrary is particularly unconvincing

   in a situation where our precedent controls our result and a circuit split already

   exists.2




          1
              Welch similarly argues that the Government conceded at his original sentencing that
   Florida’s robbery statute does not require the use of violent force. At the time the Government
   made the supposed concession, the Government’s attorney was contrasting § 812.13 with Florida’s
   “Robbery by Sudden Snatching” statute, Fla. Stat. § 812.131, which explicitly details the amount
   of force needed to commit the offense. The “concession” is better read as an acknowledgement
   that the text of § 812.13 does not specify the force needed to violate the statute.
           2
             We also note that the Ninth Circuit has since recognized that its decision in Geozos may
   no longer be good law following the Supreme Court’s decision in Stokeling. See Ward v. United
   States, 936 F.3d 914, 919 (9th Cir. 2019) (“Our prior distinction between ‘substantial’ and
   ‘minimal’ force in the ACCA robbery context in such cases as Molinar and Geozos cannot be
   reconciled with the Supreme Court’s clear holding in Stokeling.”).
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           The district court thus did not err in concluding that Welch’s 1996 robbery

   convictions were violent felonies that could be used to justify a sentencing

   enhancement under the ACCA.

      C. Florida Felony Battery

           Florida’s felony-battery statute provides that a person commits felony battery

   if he

           (a) Actually and intentionally touches or strikes another person against the
               will of the other; and
           (b) Causes great bodily harm, permanent disability, or permanent
               disfigurement.

   Fla. Stat. § 784.041(1).

           In Vail-Bailon, this Court, sitting en banc, held that Florida felony battery

   under Fla. Stat. § 784.041(1) categorically qualifies as a “crime of violence” under

   § 2L1.2 of the Sentencing Guidelines. Vail-Bailon, 868 F.3d at 1295. That decision

   is binding here.3 Welch concedes this and acknowledges that he makes the argument

   only to preserve it for further review. In light of our en banc holding in Vail-Bailon,


           3
            Although Vail-Bailon involved an analysis of a “crime of violence” under the Sentencing
   Guidelines and not a “violent felony” under the ACCA, we have previously recognized—including
   in Welch’s direct appeal—that “the definitions of ‘crime of violence’ under the Sentencing
   Guidelines and ‘violent felony’ under the [ACCA] are virtually identical,” and we “have held that
   considering whether a crime is a violent felony is similar to considering whether a conviction
   qualifies as a crime of violence.” Welch Direct Appeal, 683 F.3d at 1312 (quoting United States
   v. Alexander, 609 F.3d 1250, 1253 (11th Cir. 2010), cert. denied, 563 U.S. 905 (2011)) (cleaned
   up). Indeed, our decision in Vail-Bailon relied primarily on the Supreme Court’s opinion in Curtis
   Johnson, 559 U.S. 133 (2010), which was a decision interpreting the ACCA’s elements clause.
   See Vail-Bailon, 868 F.3d at 1302 (“[W]e conclude that the test set out in Curtis Johnson articulates
   the standard we should follow. . . .”).
                                                    12
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   we hold that the district court did not err in concluding that Welch’s Florida felony-

   battery conviction was a “violent felony” under the ACCA.

                                      IV.   Conclusion

         This Court’s binding precedent forecloses Welch’s challenges to both his

   Florida felony-battery conviction and his Florida robbery convictions as ACCA

   predicate offenses. Accordingly, we affirm the district court’s denial of Welch’s

   § 2255 motion.

         AFFIRMED.




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   ROSENBAUM, Circuit Judge, concurring:

         I join the panel opinion in full because binding precedent requires it. Welch’s

   primary argument is that, notwithstanding our decisions to the contrary, his Florida

   robbery conviction should not be considered a “violent felony” because he was

   convicted in Florida’s Fourth District Court of Appeal (“DCA”) before the Florida

   Supreme Court issued Robinson v. State, which articulated the level of force needed

   to sustain a robbery conviction under Florida law. See 692 So. 2d 883, 886 (Fla.

   1997). The panel opinion correctly concludes that our decision in United States v.

   Fritts, 841 F.3d 937 (11th Cir. 2016), cert. denied, 137 S. Ct. 2264 (2017), forecloses

   this argument and that we did not carve out an exception in Welch’s direct appeal

   for pre-1997 robbery convictions obtained in Florida’s Fourth DCA. Majority Op.

   at 7–10.

         I write separately, though, because I believe that we went too far in Fritts and

   that its holding may eventually force us into an absurd result. In Fritts, we rejected

   the argument that, prior to the Florida Supreme Court’s decision in Robinson, “only

   the slightest force was sufficient to convict a defendant of Florida robbery.” Fritts,

   841 F.3d at 942. But rather than looking to the state of the law as it actually existed

   in Florida’s district courts when Fritts had been convicted (in 1989), we simply

   concluded in Fritts that Robinson “made clear that the § 812.13 robbery statute has

   never included a theft or taking by mere snatching,” id. (emphasis in original), and


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   that “[w]hen the Florida Supreme Court in Robinson interprets the robbery statute,

   it tells us what that statute always meant.” Id. at 943 (emphasis added).

         There is no question that the Florida Supreme Court has the final say in

   interpreting Florida’s statutes. When it held in Robinson that a robbery conviction

   requires a perpetrator to have used “force sufficient to overcome a victim’s

   resistance,” 692 So. 2d at 887, it nullified any lower court precedent to the contrary.

   But that does not mean that those decisions never happened, or that individuals were

   not convicted of robbery in those districts after having used less force than Robinson

   eventually required.

         The Robinson Court had no illusion that it was merely affirming a position

   that each of Florida’s district courts had already taken. Indeed, its holding reversed

   the First DCA’s affirmance of Robinson’s conviction, in which that court

   “concluded that the degree of force required to snatch property from a person, even

   without resistance by or injury to the victim, was sufficient to satisfy Florida’s force

   element.” Id. at 885 (citing Robinson v. State, 680 So. 2d 481, 484 (Fla. 1st DCA

   1996)). Likewise, the Florida Supreme Court in Robinson acknowledged—and

   disapproved of—the Fifth DCA’s holding in Andre v. State that “any degree of force,

   including that used to snatch money from a person’s hand, was force sufficient to

   satisfy the force element of robbery.” Id. at 886, 887 n.12 (discussing Andre, 431

   So. 2d 1042, 1043 (Fla. 5th DCA 1983)).


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          So what happens, then, when someone who was convicted of robbery in the

   First or Fifth DCA before Robinson was decided finds himself before our Court?

   Let’s consider for this exercise someone like Keith Alan Andre, the defendant in

   Andre v. State. Andre was convicted of robbery in the Fifth DCA in 1983 after he

   “snatched money from the hand of the victim while in the process of discussing a

   drug deal.” Andre, 431 So. 2d at 1042. The Fifth DCA affirmed Andre’s conviction,

   holding that “the definition of robbery does not limit itself to ‘violence’ but also

   includes ‘force,’” and that “the act of ‘snatching’ the money from another’s hands is

   force and that force will support a robbery conviction.” Id. at 1043 (citation

   omitted). 1

          Imagine a Hypothetical Defendant who in 1996 was convicted of robbery for

   snatching money in, say, the Fifth DCA or the First DCA (or any other DCA that

   had not had the foresight to predict that the Florida Supreme Court would eventually

   rule that Florida robbery does not include theft or taking by mere snatching).

   Assume for a moment that the Hypothetical Defendant didn’t (or couldn’t) change

   his record after Robinson was decided. Fast forward to the present day, and assume

   that the Hypothetical Defendant has committed the federal crime of being a felon in




          1
             Andre and his associates also beat the victim after the victim tried to get his money back.
   See Andre, 431 So. 2d at 1042. But those subsequent acts were explicitly not the basis for the First
   DCA’s affirmance of the robbery conviction, as the court held that “snatching” by itself was “force
   [that] will support a robbery conviction.” Id. at 1043.
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   possession of a firearm, and that he has pled guilty to the offense. And for good

   measure, assume that the Hypothetical Defendant has two other prior convictions

   that were undisputedly serious drug convictions under the Armed Career Criminal

   Act (“ACCA”).

         There’s little doubt about what would happen next. Pursuant to 18 U.S.C.

   § 924(e)(1), the district court would sentence the Hypothetical Defendant to a

   minimum of 15 years’ imprisonment. His third qualifying felony would be the 1983

   robbery conviction, where he snatched money from a victim. The Hypothetical

   Defendant may argue that his robbery conviction should not count as a violent felony

   because he was convicted for mere snatching, and that does not rise to the level of

   force that the Supreme Court has required. See, e.g., Curtis Johnson v. United States,

   559 U.S. 133, 140 (2010) (“[T]he phrase ‘physical force’ means violent force—that

   is, force capable of causing physical pain or injury to another person.” (emphasis in

   original)). But following Fritts and our pronouncement that Florida robbery “has

   never included a theft or taking by mere snatching,” the Hypothetical Defendant—

   who was actually nonetheless convicted pre-Robinson of Florida robbery for theft or

   taking by mere snatching—would incorrectly be saddled with a “violent felony”

   under the ACCA. And he would then be sentenced under the increased penalty

   provisions, even though, as a matter of fact, the facts of his conviction did not

   actually qualify.


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         This outcome torpedoes the rationale of the categorial approach, where we

   look “not to the facts of the particular prior case, but rather to the state statute

   defining the crime of conviction.” Gonzales v. Duenas-Alvarez, 549 U.S. 183, 186

   (2007) (citing Taylor v. United States, 495 U.S. 575, 599–600 (1990)). Because

   state statutes can cover a wide breadth of conduct, our review “must presume that

   the conviction rested upon nothing more than the least of the acts criminalized.”

   Moncrieffe v. Holder, 569 U.S. 184, 190–91 (2013) (cleaned up). But that approach

   fails when our own precedent defining “the least of the acts criminalized” is at odds

   with reality.

         Fritts’s blind allegiance to an interpretation of the Florida robbery statute that

   was not, as a matter of fact, uniformly applied before the Florida Supreme Court

   issued Robinson creates the very real possibility that it will keep defendants in prison

   for extended sentences based entirely on a legal fiction. That makes no sense. We

   live in the real world. And in the real world, whatever the Florida Supreme Court

   decided in 1997 that the Florida robbery statute “always” meant cannot change the

   fact that, before Robinson, at least some of Florida’s intermediate courts of appeals

   applied the Florida robbery statute to cover mere snatchings.

         Welch, of course, was convicted in the Fourth DCA, not the First or Fifth. As

   we recognized in his direct appeal, when Welch was convicted, the Fourth DCA had

   not yet determined the requisite level of force needed to sustain a robbery conviction.


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   See United States v. Welch, 683 F.3d 1304, 1311 (11th Cir. 2012). We assumed for

   the sake of discussion that that court would have sustained a robbery conviction that

   was based on mere snatching. See id. at 1311–12. That assumption may or may not

   have held up under closer examination. But neither Welch, nor someone who was

   certainly convicted for mere snatching, will have the chance to make the argument.

   Instead, Fritts’s revisionist history wrongly ties our hands.




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                                          UNITED STATES COURT OF APPEALS
                                             FOR THE ELEVENTH CIRCUIT

                                             ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                                           56 Forsyth Street, N.W.
                                                           Atlanta, Georgia 30303


   David J. Smith                                                                                                 For rules and forms visit
   Clerk of Court                                                                                                 www.ca11.uscourts.gov


                                                           May 06, 2020

   MEMORANDUM TO COUNSEL OR PARTIES

   Appeal Number: 14-15733-CC
   Case Style: Gregory Welch v. USA
   District Court Docket No: 0:13-cv-62770-KAM
   Secondary Case Number: 0:09-cr-60212-KAM-1

   This Court requires all counsel to file documents electronically using the Electronic Case Files ("ECF") system,
   unless exempted for good cause. Non-incarcerated pro se parties are permitted to use the ECF system by
   registering for an account at www.pacer.gov. Information and training materials related to electronic filing, are
   available at www.ca11.uscourts.gov. Enclosed is a copy of the court's decision filed today in this appeal. Judgment has
   this day been entered pursuant to FRAP 36. The court's mandate will issue at a later date in accordance with FRAP 41(b).

   The time for filing a petition for rehearing is governed by 11th Cir. R. 40-3, and the time for filing a petition for rehearing
   en banc is governed by 11th Cir. R. 35-2. Except as otherwise provided by FRAP 25(a) for inmate filings, a petition for
   rehearing or for rehearing en banc is timely only if received in the clerk's office within the time specified in the rules.
   Costs are governed by FRAP 39 and 11th Cir.R. 39-1. The timing, format, and content of a motion for attorney's fees and
   an objection thereto is governed by 11th Cir. R. 39-2 and 39-3.

   Please note that a petition for rehearing en banc must include in the Certificate of Interested Persons a complete list of all
   persons and entities listed on all certificates previously filed by any party in the appeal. See 11th Cir. R. 26.1-1. In
   addition, a copy of the opinion sought to be reheard must be included in any petition for rehearing or petition for
   rehearing en banc. See 11th Cir. R. 35-5(k) and 40-1 .

   Counsel appointed under the Criminal Justice Act (CJA) must submit a voucher claiming compensation for time spent on
   the appeal no later than 60 days after either issuance of mandate or filing with the U.S. Supreme Court of a petition for
   writ of certiorari (whichever is later) via the eVoucher system. Please contact the CJA Team at (404) 335-6167 or
   cja_evoucher@ca11.uscourts.gov for questions regarding CJA vouchers or the eVoucher system.

   For questions concerning the issuance of the decision of this court, please call the number referenced in the signature
   block below. For all other questions, please call Carol R. Lewis, CC at (404) 335-6179.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Jeff R. Patch
   Phone #: 404-335-6151

                                                                                            OPIN-1 Ntc of Issuance of Opinion
